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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                        March 18, 2022
                            UNITED STATES DISTRICT COURT
                                                                                      Nathan Ochsner, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                  LAREDO DIVISION

JAMES KUYKENDALL,                                     §
                                                      §
             Plaintiff,                               §
                                                      §
VS.                                                   §    CIVIL ACTION NO. 5:20-CV-219
                                                      §           **SEALED**
AMAZON STUDIOS LLC et al.,                            §
                                                      §
             Defendants.                              §

                                                ORDER

            Defendants IPC Television, Tiller Russell, and Hector Berrellez (the “Moving

Defendants’”)1 have filed a motion to dismiss for lack of personal jurisdiction or, in

the alternative, to transfer venue (Dkt. No. 38). Having considered the relevant

filings and applicable law, the motion (Dkt. No. 38) is GRANTED IN PART and

DENIED IN PART. While the Court lacks personal jurisdiction over the Moving

Defendants, it declines to dismiss the case under Rule 12(b)(2). Instead, the Court

will transfer the claims against the Moving Defendants to the Central District of

California, Los Angeles Division.

                                        I.    BACKGROUND

          Plaintiff James Kuykendall is a Texas resident and former agent for the Drug

Enforcement Administration (“DEA”) (Dkt. No. 1 at 8).2 His lawsuit concerns a



1Originally, there were two other Moving Defendants: John Massaria and Good Pixel Productions (see
Dkt. No. 38). However, they have since been terminated from this lawsuit (Dkt. No. 102).

2   All pincites to docket entries refer to CM/ECF’s pagination.
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streaming television documentary series called The Last Narc (“the Show”), which

explores the kidnapping and murder of DEA Agent Enrique Camarena (id. at 2). The

Show is available on Amazon.com, Inc.’s digital streaming service, Prime Video (id.

at 7).

         Essentially, Plaintiff takes issue with his portrayal in the Show. According to

Plaintiff, only the Guadalajara Cartel (“the Cartel”) kidnapped and killed Agent

Camarena (id. at 1). But according to the Show, Plaintiff, other American officials,

and the Cartel coordinated Agent Camarena’s murder, and Plaintiff “deliberately

sabotaged” the criminal trial that ensued (id. at 2–3). The Show claims Agent

Camarena threatened to expose a secret, transnational, deep-state conspiracy (id. at

2). Supposedly, the federal government and the Cartel formed a pact to traffic drugs

into the United States and use some of the proceeds to fund Nicaraguan Contras (id.).

To thwart Agent Camarena’s potential revelation, the Show avers Plaintiff and the

Cartel planned Agent Camarena’s abduction, Plaintiff aided and abetted the

execution of the plan, and Plaintiff lied during the subsequent murder trial (id. at 3).

The Show also claims that Plaintiff received bribes from the Cartel (id.). In response

to his portrayal in the Show, Plaintiff filed this lawsuit (id.).

         At this juncture, only four defendants remain: IPC Television, LLC (“IPC”),

Tiller Russell, Hector Berrellez, and Amazon Studios, LLC (“Amazon Studios”) (id. at

1). Of the four defendants, the first three—the Moving Defendants—contest personal

jurisdiction (Dkt. No. 38). IPC is a production studio and media company, which has

its principal place of business in California and is incorporated in Delaware (Dkt. No.




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38-1 at 11). IPC co-produced the Show (Dkt. No. 1 at 8). Russell is a New Mexico

resident who developed, co-executive produced, and directed the Show (id.). Berrellez

is a California resident and former DEA agent who was interviewed extensively for,

and appears in, the Show (id. at 7; Dkt. No. 104 at 40). Amazon Studios is a TV

production and distribution company with its principal place of business in California

(Dkt. No. 1 at 7). It is a subsidiary of Amazon.com, Inc., and it produced, published,

and distributed the Show through Prime Video (id.).

         Plaintiff asserts four claims in this diversity action: defamation per se,

defamation per quod, intentional infliction of emotional distress, and violation of

Plaintiff’s right of publicity (Dkt. No. 1 at 36–41). The Moving Defendants believe this

Court lacks personal jurisdiction over them and move for dismissal on this basis (Dkt.

No. 38). In the alternative, the Moving Defendants request that this matter be

transferred to the Central District of California, Los Angeles Division, pursuant to 28

U.S.C. § 1404(a) (id.). Plaintiff counters that this Court has specific personal

jurisdiction over the Moving Defendants and a transfer is not warranted (Dkt. No.

53).

                              II.   LEGAL STANDARD

         When personal jurisdiction is challenged, the burden of establishing

jurisdiction falls on the plaintiff. Revell v. Lidov, 317 F.3d 467, 469 (5th Cir. 2002).

However, the plaintiff need only present prima facie evidence to meet this burden.

Id. “We must accept the plaintiff’s uncontroverted allegations, and resolve in his favor

all conflicts between the facts contained in the parties’ affidavits and other




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documentation.” Id. (cleaned up) (quoting Alpine View Co. Ltd. v. Atlas Copco AB, 205

F.3d 208, 215 (5th Cir. 2000)). However, a court need not credit conclusory

allegations. Panda Brandywine Corp. v. Potomac Elec. Power Co., 253 F.3d 865, 869

(5th Cir. 2001). “In considering a motion to dismiss for lack of personal jurisdiction a

district court may consider ‘affidavits, interrogatories, depositions, oral testimony, or

any combination of the recognized methods of discovery.’” Revell, 317 F.3d at 469

(quoting Stuart v. Spademan, 772 F.2d 1185, 1192 (5th Cir. 1985)).

       In a diversity action, a district court may exercise personal jurisdiction over a

non-forum defendant if “(1) the long-arm statute of the forum state creates personal

jurisdiction over the defendant; and (2) the exercise of personal jurisdiction is

consistent with the due process guarantees of the United States Constitution.” Id.

Because Texas’ long-arm statute allows for personal jurisdiction up to the

constitutional limit, a court’s analysis merges into a single due process inquiry.

Clemens v. McNamee, 615 F.3d 374, 378 (5th Cir. 2010).

       The Due Process Clause of the Fourteenth Amendment allows a court to

exercise personal jurisdiction over a non-forum defendant when “(1) that defendant

has purposefully availed himself of the benefits and protections of the forum state by

establishing minimum contacts with the forum state and (2) the exercise of

jurisdiction over that defendant does not offend traditional notions of fair play and

substantial justice.” Id. Minimum contacts can give rise to either general or specific

jurisdiction. Id.

       “General jurisdiction exists when a defendant’s contacts with the forum state




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are unrelated to the cause of action but are continuous and systematic.” Revell, 317

F.3d at 470 (cleaned up) (quoting Mink v. AAAA Dev. LLC, 190 F.3d 333, 336 (5th

Cir. 1999)). “A state court may exercise general jurisdiction only when a defendant is

‘essentially at home’ in the State.” Ford Motor Co. v. Montana Eighth Jud. Dist. Ct.,

141 S. Ct. 1017, 1024 (2021) (quoting Goodyear Dunlop Tires Operations, S.A. v.

Brown, 564 U.S. 915, 919 (2011)). Paradigmatically, an individual is “at home” in his

or her place of domicile, and a corporation is “at home” in its place of incorporation

and principal place of business. Id.

       The minimum contacts needed for specific jurisdiction exist when a defendant

“purposefully avail[s] itself of the privilege of conducting activities in the forum State”

and when the plaintiff’s claim relates to or arises out of those purposeful contacts.

Johnson v. TheHuffingtonPost.com, Inc., 21 F.4th 314, 317 (5th Cir. 2021) (quoting

Ford Motor Co., 141 S. Ct. at 1024). Thus, to determine whether specific jurisdiction

exists, a court looks only to “the contact out of which the cause of action arises.” Revell,

317 F.3d at 472. Further, “[e]ach defendant’s contacts with the forum State must be

assessed individually.” Calder v. Jones, 465 U.S. 783, 790 (1984). Due process limits

on specific jurisdiction “protect the liberty of the nonresident defendant—not the

convenience of plaintiffs or third parties.” Walden v. Fiore, 571 U.S. 277, 284 (2014).

It is therefore “insufficient to rely on a defendant’s ‘random, fortuitous, or attenuated

contacts’ or on the ‘unilateral activity’ of a plaintiff. . . . A forum State’s exercise of

jurisdiction over an out-of-state intentional tortfeasor must be based on intentional

conduct by the defendant that creates the necessary contacts with the forum.” Id. at




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286 (quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475 (1985)).

        If a court finds it lacks personal jurisdiction, it may either dismiss the action

pursuant to Federal Rule of Civil Procedure 12(b)(2) or transfer the action. 28 U.S.C.

§§ 1406(a), 1631; Herman v. Cataphora, Inc., 730 F.3d 460, 466 (5th Cir. 2013);

Franco v. Mabe Trucking Co., Inc., 3 F.4th 788, 795 (5th Cir. 2021). In such a case, a

court shall transfer the action to any court “in which the action or appeal could have

been brought at the time it was filed or noticed,” so long as the court finds it is within

the interest of justice to do so. 28 U.S.C. § 1631.

                                   III.   ANALYSIS

   A.    Minimum Contacts: General Personal Jurisdiction

        Plaintiff has not asserted the Moving Defendants are subject to general

personal jurisdiction in this Court (see Dkt. Nos. 53, 104). Because Plaintiff bears the

burden of making a prima facie case for personal jurisdiction, the general jurisdiction

issue is waived. Nonetheless, even if the issue had not been waived, general

jurisdiction is lacking. The Moving Defendants have shown they are not “at home” in

Texas, do not own property or assets in Texas, and do not conduct any regular

business in Texas (Dkt. No. 38-1 at 13–16).

   B.    Minimum Contacts: Specific Personal Jurisdiction

        Typically, for a defamation or libel claim, courts analyze specific personal

jurisdiction using the tests articulated by the Supreme Court in Calder v. Jones, 465

U.S. 783 (1984) and Keeton v. Hustler Magazine, Inc., 465 U.S. 770 (1984). The Calder

test assesses whether an author or publisher of defamatory content has aimed the




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offending content towards a state, knowing that its tortious effects will be felt there.

Fielding v. Hubert Burda Media, Inc., 415 F.3d 419, 425 (5th Cir. 2005). The Keeton

test assesses whether a publisher or distributor of defamatory content has adequate

circulation of the content in the forum state for jurisdictional purposes. See id. Here,

Plaintiff claims the Court may exercise specific personal jurisdiction over Russell and

IPC—two of the three Moving Defendants—under the Calder test (Dkt. No. 53 at 20–

22; Dkt. No. 104 at 9–25, 33–35). Plaintiff also asserts the Court may exercise

personal jurisdiction over all three Moving Defendants under the Keeton test, as

interpreted by the Supreme Court of Texas in TV Azteca v. Ruiz, 490 S.W.3d 29, 36

(Tex. 2016) (Dkt. No. 104 at 25–32, 35–42).

          1. Calder

      In Calder, Shirley Jones, a television entertainer and California resident,

brought a libel suit in California based on a National Enquirer article about her

activities there. Calder, 465 U.S. at 784–85, 788. The Supreme Court concluded the

California court had specific personal jurisdiction over the article’s writer and its

editor. Id. at 785, 789. Although both defendants resided in Florida and produced the

article there, they relied on California sources for its development. Id. at 785, 788–

89. After assessing the relationships among the defendants, forum, and litigation, the

Supreme Court concluded the defendants were subject to the California court’s

personal jurisdiction because they “expressly aimed” intentional tortious actions

toward California, which was the focal point of the article and the harm it caused. Id.

at 789–90. In a subsequent case, the Supreme Court clarified that to find specific




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jurisdiction under Calder, a defendant must purposefully reach into the forum state

to create contacts with the forum itself. Walden, 571 U.S. at 284–85. Thus, the mere

fact that a plaintiff lives in, or was harmed in, the forum is insufficient to confer

jurisdiction over a defendant. Id. at 284–86.

       The Fifth Circuit has also elaborated upon the Calder test. It has repeatedly

held that jurisdiction under Calder can be established only when an author or

publisher “aims” an allegedly defamatory story at a forum state, knowing the “effects”

will be felt there. Fielding, 415 F.3d at 425. Thus, a showing of “effects” in a forum,

without more, is insufficient—a showing of “aim” is also required. Revell, 317 F.3d at

473; Clemens, 615 F.3d at 380.

       A plaintiff demonstrates a defendant “aimed” defamatory statements at the

forum state by “showing that (1) the subject matter of and (2) the sources relied upon

for the [defamatory content] were in the forum state.” Fielding, 415 F.3d at 426. This

“aim” test formulation is often called the “subject-and-sources” test, and the Fifth

Circuit requires that both prongs be satisfied to establish personal jurisdiction under

Calder. See Revell, 317 F.3d at 474; Fielding, 415 F.3d at 425–26; Clemens, 615 F.3d

at 380. The subject prong is only fulfilled when the forum is the focal point of the

story: Fleeting mentions of the forum that only serve as collateral or background

information do not suffice. Fielding, 415 F.3d at 426–27. Similarly, the use of forum

sources must be more than “marginal” or “fleeting” and should relate to the forum as

the focal point of the story. Id. at 426.

       Here, Plaintiff invokes Calder to assert personal jurisdiction over Russell and




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IPC,3 but not Berrellez (see Dkt. No. 104 at 41). The Court will assess the “effects”

test and the “aim” subject-and-sources-test in turn.

                   Effects

       Plaintiff’s Calder arguments focus on the fact he is a Texas resident, and the

brunt of his alleged harm was experienced here (see, e.g., Dkt. No. 53 at 19). According

to Plaintiff, because (1) the Moving Defendants knew he lived in Texas, and (2)

because he and his counsel informed the Moving Defendants that the Show’s

statements about Plaintiff were defamatory, there is personal jurisdiction under

Calder (id.; see also Dkt. No. 104 at 22–25). The Moving Defendants do not contest

that they knew Plaintiff lived in Texas or that they “knew the brunt of [his] injury

would be felt” in Texas. See Calder, 465 U.S. at 789–90. “Knowledge of the particular

forum in which a potential plaintiff will bear the brunt of the harm forms an essential

part of the Calder test.” Revell, 317 F.3d at 475. Thus, Plaintiff has made a prima

facie showing that Calder’s effects test has been satisfied. However, as the Supreme

Court and Fifth Circuit have emphasized, effects alone are insufficient—the aim test

must also be fulfilled. See, e.g., Walden, 571 U.S. at 289–90; Revell, 317 F.3d at 473;

Clemens, 615 F.3d at 380.

                   Aim: Subject and Sources

       As to the subject prong of the “aim” test, Plaintiff asserts it is fulfilled because

the Show references Texas at least three times. First, the Show explores Plaintiff’s


3 Plaintiff asserts that Russell’s contacts and conduct can be “equally and vicariously” attributed to
IPC through a series of contractual and business arrangements (Dkt. No. 104 at 32). Assuming this is
true, it is of no moment. The Court cannot exercise personal jurisdiction over Russell or IPC under
Calder. See infra Section III.B.2.b.


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testimony during a murder trial in California, which described Plaintiff’s Texas

meeting with Zuno-Arce, a Cartel member on trial for Agent Camarena’s murder

(Dkt. No. 1 at 14–15; Dkt. No. 53 at 12). According to Plaintiff, the Show references

his testimony to demonstrate Plaintiff lied for the Cartel (Dkt. No. 53 at 8–9, 12–13).

Second, in one episode, Berrellez—under Russell’s direction—describes Berrellez’s

involvement in an incident in El Paso (Dkt. No. 53 at 13; Dkt. No. 104 at 12–13).

Plaintiff believes Berrellez’s narrative relates to the defamation claim because,

although the El Paso incident has nothing to do with Plaintiff, it bolsters the

reputation of Berrellez “to induce the audience to be more likely to believe Berrellez’s

accusations against Plaintiff” (Dkt. No. 104 at 13). Finally, the Show discusses Zuno-

Arce’s arrest in San Antonio (Dkt. No. 53 at 13).

       The Moving Defendants respond that Plaintiff’s testimony occurred in

California, and the Show’s references to the testimony do not mention a meeting with

Zuno-Arce at all, let alone the fact that the meeting happened in Texas (Dkt. No. 60

at 4; Dkt. No. 108 at 7).4 The Moving Defendants also note the Show’s depiction of

Berrellez’s incident in El Paso and Zuno-Arce’s arrest in San Antonio have nothing

to do with Plaintiff’s defamation claims (Dkt. No. 60 at 4).

       Plaintiff has not satisfied the subject prong. As the Fifth Circuit has reiterated

many times, to find personal jurisdiction under the Calder subject-and-sources

analysis, Texas must be the “focal point” of the defamatory story. Fielding, 415 F.3d


4Plaintiff agrees the Show does not mention the meeting took place in Texas but asserts the testimony
references the meeting generally (Dkt. No. 104 at 12). Because the Court must resolve factual disputes
in Plaintiff’s favor, the Court credits his interpretation: the Show references Plaintiff’s testimony about
his meeting with Zuno-Arce but does not discuss the meeting’s location.


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at 426–27; Clemens, 615 F.3d at 379–80; Herman, 730 F.3d at 465–66. Plainly, it is

not. The focal points of the Show and its allegations about Plaintiff are events that

occurred in Mexico and California. As detailed in the complaint, Plaintiff’s alleged

bribes and meetings with the Cartel occurred in Mexico, the kidnapping and murder

of Agent Camarena occurred in Mexico, and the trial at which Plaintiff allegedly

perjured himself occurred in California (see generally Dkt. No. 1). At best, the sporadic

references to Texas are “collateral to the focus” of the Show. See Fielding, 415 F.3d at

426–27 (holding the focus of a defamatory article was a European affair and

references to the plaintiff’s past in Texas were “collateral” and “served merely to

supply background, biographical information” about the plaintiff); see also Clemens,

615 F.3d at 379–80 (determining Texas was not the “focal point of the story,” in part

because the story primarily “concerned non-Texas activities—the delivery of

performance-enhancing drugs to [Plaintiff] in New York and Canada”); Herman, 730

F.3d at 465–66 (holding defamatory statements focused on the litigation history of a

contract dispute in California, despite the fact the contract governed services in

Louisiana). Thus, Calder’s subject prong is unfulfilled. Since the subject prong is

required by Fifth Circuit precedent, Plaintiff’s arguments under Calder must fail,

and the Court need not analyze the sources prong.

       Regardless, it is doubtful that the sources prong would be satisfied. In this

inquiry, the Fifth Circuit has emphasized a “defendant must be chargeable with

knowledge of the forum at which his conduct is directed in order to reasonably

anticipate being haled into court in that forum.” Revell, 317 F.3d at 475; see also




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Johnson, 21 F.4th at 318 (holding a defendant must target the forum “specifically and

knowingly”). Additionally, the Supreme Court has cautioned that to assert personal

jurisdiction over a non-forum defendant, it is “insufficient to rely on a defendant’s

‘random, fortuitous, or attenuated contacts’. . . . A forum State’s exercise of

jurisdiction over an out-of-state intentional tortfeasor must be based on intentional

conduct by the defendant that creates the necessary contacts with the forum.”

Walden, 571 U.S. at 286. In light of this precedent, three reasons suggest the sources

prong has not been satisfied.

       First, although Russell contacted two Texas residents while developing the

Show, he did not know they were Texas residents. To be sure, Plaintiff provided

Russell the names and email addresses of “sources” who would refute the Show’s

accusations about Plaintiff, and Russell contacted some of the listed individuals,

including two Texas residents (Dkt. No. 53 at 16; Dkt. No. 62 at 2–3). And admittedly,

the two Texas individuals emailed Russell back, refuting or casting doubt on Russell’s

negative allegations about Plaintiff (id. at 2–5). But Russell claims he was wholly

unaware these two sources were Texas residents, and Plaintiff does not contest this

(see Dkt. No. 75 at 2; Dkt. No. 78 at 2; Dkt. No. 104 at 16; Dkt. No. 108 at 10). Because

Plaintiff has not shown that Russell had the necessary knowledge that he was making

a contact in Texas, and because email communications do not automatically convey

locational data,5 Russell’s contact with these individuals falls short of fulfilling the


5 See Rare & Fine Vintage Watches AG v. Maron, No. 5:20-cv-249, 2020 WL 3051436, at *3 (W.D. Tex.
June 7, 2020) (recognizing that because communications such as email can be made from “anywhere
in the world,” “reliance on these communications, without more, is ‘obsolete as proof of purposeful
availment’”) (internal quotation omitted).


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sources prong.

        Second, the parties agree Russell did not use any information from these Texas

individuals to create the Show (Dkt. No. 75 at 3; Dkt. No. 104 at 17). This bolsters a

finding that these two Texas sources cannot satisfy the sources prong. After all, the

Supreme Court and Fifth Circuit have suggested that a source must actually be

“relied upon” to fulfill this prong. See Calder, 465 U.S. at 788–89 (noting the article

was “drawn from [forum] sources”); Fielding, 415 F.3d at 426 (noting the sources

prong could be fulfilled where “the sources relied upon for the article were in the

forum state” but likely not where contact with the sources “led to no new substantial

disclosures”); Clemens, 615 F.3d at 380. Here, the Show used no information from the

two Texas sources (Dkt. No. 75 at 3; Dkt. No. 104 at 17). 6

        Finally, Plaintiff’s argument that the Show relied on another Texas source—

former DEA agent Phil Jordan, who appears in every episode—is likely unavailing

(Dkt. No. 53 at 14). Plaintiff argues Jordan served as a “main source[] [upon] which

the Show relies to make the patently false accusation that [Plaintiff’s] testimony at

the first trial of Zuno-Arce was perjured to benefit the Cartel” (id.). Plaintiff further

notes that IPC and Russell financed Jordan’s trip from Texas to California to be



6 Plaintiff also contends he and his lawyers served as “sources” when they responded to an email from
Russell and, therein, denied the Show’s allegations about Plaintiff (Dkt. No. 53 at 15–17; Dkt No. 104
at 18–22). However, Plaintiff and the Moving Defendants agree that this email exchange did not result
in any information that was used in the Show (Dkt. No. 53 at 17; Dkt. No. 38-1 at 19; Dkt. No. 104 at
21). Because, as described above, a source must be “relied upon” to fulfill the sources prong, Plaintiff’s
allegations that he and his lawyers served as sources must fail. Additionally, these contacts cannot
confer personal jurisdiction over the Moving Defendants because “the plaintiff cannot be the only link
between the defendant and the forum. Rather, it is the defendant’s conduct that must form the
necessary connection with the forum State that is the basis for its jurisdiction over him.” Walden, 571
U.S. at 285.



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interviewed for the Show (Dkt. No. 104 at 14). However, the Court is skeptical of

whether this single Texas source can fulfill the sources prong, especially because the

information he provided was not linked to Texas. There is no indication that Jordan’s

Texas residence at all influenced or contributed to his interview statements. To the

contrary, Jordan’s interview explored events that occurred in California and Mexico.

See Fielding, 415 F.3d at 426 (indicating a source’s information should relate to the

forum as the focal point of the story). In other words, Jordan’s residence in Texas is

a mere fortuity, and the Moving Defendants’ contacts with Texas through him are

likely too attenuated to support an exercise of personal jurisdiction. See Walden, 571

U.S. at 285–86 (explaining contacts between a defendant and a third party are

insufficient, on their own, to confer jurisdiction when there is no connection between

defendant and the forum itself). In sum, because the “aim” prong is unfulfilled, the

Court lacks personal jurisdiction over the Moving Defendants under Calder.

          2. Keeton and “Additional Conduct”

      Next, the Court addresses whether personal jurisdiction is available under the

traditional Keeton “adequate circulation” test and an interpretation of the Keeton test

articulated in TV Azteca, referred to by Plaintiff has the “additional conduct” test.

The Court concludes no personal jurisdiction exists under either test.

                Keeton

      In Keeton, a New York plaintiff sued Ohio and California-based Hustler

Magazine, Inc. (“Hustler”) in New Hampshire for libel. 465 U.S. at 772. Hustler’s only

contact with New Hampshire consisted of the 10,000 to 15,000 magazine copies it sold




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there per month. Id. The Supreme Court examined the magazine’s circulation to

determine whether personal jurisdiction existed over Hustler. See id. at 773–74. The

Court held the regular, monthly magazine circulation in the forum state could not be

categorized as “random, isolated, or fortuitous.” Id. at 774. Instead, the circulation

showed that Hustler “continuously and deliberately” exploited the forum’s market

and could have reasonably anticipated being sued there. Id. at 781.

      Initially, Plaintiff relied on the Keeton test only in the alternative to Calder,

arguing the circulation test was satisfied because the Show is available to stream in

Texas through Prime Video (Dkt. No. 53 at 24–26). Plaintiff asserted that when the

Moving Defendants negotiated to sell the Show to Amazon Studios for distribution,

the Moving Defendants expected Amazon Studios to target the “widest audience

possible” (id. at 25). However, in his first response, Plaintiff also admitted that he

needed more information about the Moving Defendants’ actions to tie them to the

Show’s distribution and fulfill the Keeton test (id. at 26). Interestingly, once Plaintiff

received jurisdictional discovery, his arguments shifted from the traditional Keeton

analysis and emphasized only his “additional conduct” arguments (see generally Dkt.

No. 104 (second response, which makes only one passing reference to Keeton)). Thus,

the Court considers the traditional Keeton argument waived.

      However, even if Plaintiff has not forfeited his traditional Keeton argument,

the Court cannot assert personal jurisdiction over the Moving Defendants

thereunder. As stated before, the Keeton test is typically used for the publishers, or

distributors, of defamatory materials. See Fielding, 415 F.3d at 425; Johnson, 21




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F.4th at 325. But the Moving Defendants cannot reasonably be categorized as

publishers or distributors. Russell and IPC simply developed and produced the Show

(Dkt. No. 1 at 8; Dkt. No. 38-1 at 10–11). Berrellez participated as an interviewee

(Dkt. No. 1 at 7; Dkt. No. 104 at 40). On this record, Amazon Studios’ status as a

publisher and distributor cannot be imputed to the Moving Defendants since “the

forum-targeting actions of distributors are not generally imputed to the people that

created the distributed product.” John E. Reid & Assocs., Inc. v. Netflix, Inc., No. 19

CV 6781, 2020 WL 1330657, at *5 (N.D. Ill. Mar. 23, 2020) (citing Calder, 465 U.S. at

790), appeal dismissed, No. 20-1602, 2020 WL 6039144 (7th Cir. Aug. 28, 2020); see

also Keeton, 465 U.S. at 781 n.13 (holding jurisdiction over Hustler for its magazine

circulation did not lead to an automatic finding of jurisdiction over individual

defendant who was the magazine’s publisher, editor, and owner); Butowsky v.

Gottlieb, No. 4:19-cv-180, 2020 WL 5757223, at *5 (E.D. Tex. Sept. 28, 2020) (finding

no personal jurisdiction under Keeton over producer of television show, even though

producer had a “vested financial interest in expanding the reach of [the show] into all

fifty states, including Texas”); Davidson v. Time Warner, Inc., No. 6:94-cv-6, 1997 WL

405907, at *7–8 (S.D. Tex. Mar. 31, 1997) (finding no personal jurisdiction over

recording artist based on album distribution: “Only after [the distributors]

distributed the album could it be said to have ‘entered the stream of commerce,’ and

[the recording artist] had no control over how the recording would be distributed.”).

      Here, Plaintiff has merely lodged conclusory allegations that the Moving

Defendants participated in, or controlled, the Show’s distribution (see, e.g., Dkt. No.




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53 at 25–26; Dkt. No. 104 at 25–32, 35–40 (making conclusory statement that “IPC

was actively involved in the . . . distribution of the Show,” but admitting that Amazon

Studios was the Show’s distributor and only specifically alleging Russell and IPC’s

involvement with the Show’s promotion)). Thus, the Court cannot maintain personal

jurisdiction over the Moving Defendants through Keeton’s traditional formulation.

                    “Additional Conduct” Test

        In his most recent filings, Plaintiff relies on the so-called “additional conduct”

test, as elucidated by the Supreme Court of Texas in TV Azteca,7 to assert the Court

has personal jurisdiction over the Moving Defendants (Dkt No. 104 at 25).8 In TV

Azteca, the Supreme Court of Texas applied Keeton in a defamation case against

Mexican media defendants associated with certain television broadcasts. See 490

S.W.3d at 35, 47. Specifically, the plaintiff sued two Mexican broadcast companies

and a Mexican news anchor and producer, Patricia Chapoy, who worked for one of

the broadcast companies. Id. at 35. The TV Azteca court held that it had personal

jurisdiction over all defendants under Keeton, including Chapoy, who promoted the



7 TV Azteca v. Ruiz, 490 S.W.3d 29 (Tex. 2016). The Court has referenced TV Azteca to explain that
Calder may not be the exclusive test for personal jurisdiction in this case (see Dkt. No. 80). But the
Court is not bound by the outcome or analytical framework of TV Azteca because, of course, “federal
courts are not bound by state court determinations of what the Constitution requires.” Southwest
Offset, Inc. v. Hudco Publ’g Co. Inc., 622 F.2d 149, 152 (5th Cir. 1980).

8 Plaintiff also asserts “this Court ruled that Plaintiff’s evidence of personal jurisdiction over these
defendants, while sufficient in general terms to defeat the pending motion, insufficiently distinguished
among the different defendants and therefore did not provide the Court with a basis to assess its
jurisdiction against each of them separately and individually” and the Court “intimated . . . that
Plaintiff had already adduced sufficient evidence of Russell’s contacts with and conduct in Texas to
support personal jurisdiction against him” (Dkt. No. 104 at 6, 8). This Court has made no such rulings
or “intimations” (see Dkt. No. 80). Plaintiff’s assertions are therefore either intentionally disingenuous
or demonstrate a grave misreading of a straightforward order.



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broadcasts in Texas but did not publish or distribute them. See id. at 48–52. The

Court determined the defendants were subject to personal jurisdiction in Texas

because they engaged in “additional conduct” through which they “continuously and

deliberately exploited” the Texas market. Id. at 47–52 (quoting Keeton, 465 U.S. at

781). It looked to the defendants’ efforts to promote, distribute, and profit from their

broadcasts in Texas as evidence that the defendants “made substantial and successful

efforts to benefit from” broadcasts in Texas. Id. at 49.

      The Court first notes its personal jurisdiction rulings must comport with

relevant federal precedent, and TV Azteca is merely persuasive authority. Federal

precedent requires Plaintiff to show the Moving Defendants knowingly and

specifically targeted Texas and purposefully availed themselves of jurisdiction here,

with the reasonable expectation of being haled to Texas court. Johnson, 21 F.4th at

318, 325; Clemens, 615 F.3d at 378; Revell, 317 F.3d at 475. Therefore, even under

the “additional conduct” variation of the Keeton test, Plaintiff must show the Moving

Defendants’ contacts with Texas were more than “random, isolated, or fortuitous” and

instead evince an intent to “continuously and deliberately” exploit the Texas market.

Keeton, 465 U.S. at 774, 781. Explained below, each instance of “additional conduct”

by the Moving Defendants cannot fairly be said to be more than random, isolated, or

fortuitous. Consequently, Plaintiff has not marshalled sufficient allegations or

evidence to establish the minimum contacts required by federal precedent.

                 a. Tiller Russell

      First, Plaintiff asserts Russell exploited the Texas market when he chose




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Amazon Studios as the Show’s distributor because he wanted the Show to reach the

“widest audience possible” (Dkt. No. 104 at 26). Plaintiff also argues Russell’s

compensation was “directly tied to Amazon’s distribution of the Show” (id.). He points

to Russell’s contractual entitlement to “contingent compensation” in connection with

“the worldwide exploitation of the Series in perpetuity” and the possibility of a

“backend premium” if the Show was distributed outside of the United States and

other “core countries” (id. at 26–27).

      But none of these actions indicate Russell specifically or deliberately targeted

the Texas market. Taking steps to ensure a “wide audience” does not, without more,

indicate purposeful availment of a certain forum. See Johnson, 21 F.4th at 320 (noting

“universal accessibility” is not the equivalent of “purposeful availment”); Clemens,

615 F.3d at 380 (finding no personal jurisdiction where plaintiff failed to show

defamatory statements were “made in Texas or directed to Texas residents any more

than residents of any state”); Revell, 317 F.3d at 475 (holding the Texas court lacked

jurisdiction in part because the defamatory article was posted on the Internet and

thus was not aimed specifically at Texas but was “presumably directed at the entire

world, or perhaps just concerned U.S. citizens”). Further, as described by Plaintiff,

Russell’s compensation scheme does not evince specific targeting of Texas. The record

shows Russell was paid only “a flat front-end payment per episode deriving from

distribution of the Show throughout the ‘Amazon Core Territories’ (which includes

the entire U.S. and about three dozen other countries)” with a back-end premium if

the distribution expanded beyond those core territories (Dkt. No. 104 at 26–27). Thus,




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Russell was paid a flat fee for all distribution within the United States and received

no special compensation for specific distribution in Texas.

      As to Russell’s possible “contingent compensation,” Plaintiff admits such

compensation has not yet materialized (id. at 27). Further, Plaintiff marshals no

argument to tie this potential compensation to the exploitation of the Texas market

(id.). Overall, none of Russell’s contractual entitlements indicate he controlled or

benefitted specially from distribution in Texas. Therefore, they cannot serve as the

basis for exercising personal jurisdiction. Cf. Davidson, 1997 WL 405907, at *8

(finding no personal jurisdiction over recording artist after he granted rights to his

album to a record company that subsequently distributed it without artist’s control,

despite the artist’s limited promotion in Texas and his “hope” it would be distributed

there).

      Second, Plaintiff alleges Russell’s contractual obligations required him to

“actively participate in the promotion of and publicity for the Show, so as to ensure a

wide audience” (Dkt. No. 104 at 27). Specifically, Plaintiff points to Russell’s media

training from Amazon Public Relations, his involvement in creating promotional

trailers and billboards, his unsuccessful attempt to have the film screened at Austin’s

South by Southwest (SXSW) film festival, and his national and local media

appearances to promote the Show (id. at 27–31). However, Plaintiff fails to show that

Russell had any decision-making power in fulfilling his contractually obligated

promotional activities. Further, with limited exceptions, Plaintiff again fails to point

to any activities demonstrating Russell specifically targeted the Texas market, as




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opposed to engaging in general, nationwide promotion. Participation in nationwide

promotion, without more, cannot create sufficient minimum contacts with Texas

because it does not demonstrate Texas was targeted “specifically” or that the Show

was directed to “Texas residents any more than residents of any state.” Johnson, 21

F.4th at 318, 321 (“To target every user everywhere . . . is to target no place at all.”);

Clemens, 615 F.3d at 380.

      Russell’s only potential contacts with Texas include his interest in the SXSW

film festival and two podcast tapings (see Dkt. No. 104 at 29, 31). As to SXSW,

Plaintiff claims Russell “unsuccessfully attempted to have the Show premiere at the

SXSW film festival” (id. at 29). Plaintiff points to an email between Amazon Studios

employees, in which the author states “[Russell] feels very strongly that [the Show]

should premiere at SXSW,” and Russell’s deposition, in which Russell testified he did

not recall communicating this feeling to Amazon Studios, but that it would have been

reasonable had he done so (Dkt. No. 104 at 29; Dkt No. 104-14 at 2; Dkt. No. 104-27

at 1). But the bottom line is this: Russell did not reach into Texas at all. He expressed

a wish that someone else do so, and ultimately, the other party did not execute this

wish. If this desire can even be considered a contact with Texas, it is far too

attenuated to confer personal jurisdiction over Russell.

      As to the podcast interviews, Plaintiff references two instances: Russell’s travel

to Texas to tape an episode of the “Joe Rogan Podcast” and Russell’s appearance on a

Texas-based podcast called the “Ef N’ Sonny Show” (Dkt. No. 104 at 31). Plaintiff

concedes Russell taped his Joe Rogan interview in March 2021—months after the




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instant lawsuit was filed—and that the interview’s main purpose was to promote one

of Russell’s other films (id.). Assuming post-filing activities can create personal

jurisdiction, this Joe Rogan interview is insufficient. As Plaintiff admits, the Show

was an ancillary topic during this interview. Further, the Court notes the Joe Rogan

Podcast, like most podcasts, is accessible nationwide via the Internet. Plaintiff has

not shown how the Joe Rogan Podcast specifically targeted the Texas market. Cf.

Nunes v. NBCUniversal Media, LLC, No. 4:21-cv-608, 2022 WL 269101, at *7 (E.D.

Tex. Jan. 28, 2022) (“[Plaintiff] has presented no facts that [Defendant’s] website [and

YouTube channel] specifically targeted Texas viewers” . . .                    rather than being

“accessible to anyone in the world with an Internet connection.”) (cleaned up). For

example, he does not allege the Joe Rogan Podcast has disproportionate Texas

listenership or how the taping in Texas was more than fortuitous.

          As to the “Ef N’ Sonny Show,” Plaintiff believes Russell’s appearance thereon

confers personal jurisdiction because Russell:

          [A]ppeared for over half an hour on the “Ef N’ Sonny Show,” a legal
          podcast filmed in Edinburg, Hidalgo County, Texas, whose audience is
          entirely located in the Rio Grande Valley and whose subject matters
          almost exclusively relate to South Texas and border issues. . . . Russell
          . . . was aware that the podcasters were from Texas when he agreed to
          participate.

(Dkt. No. 104 at 31). This argument is unavailing. First, there is no indication that

Russell entered Texas to tape the interview (see id.). Further, Plaintiff does not point

to any specific defamatory statements from the Show that were repeated in this

interview (see id.).9


9   Although Plaintiff supplied a URL linking the Court to this interview, which spans 27 minutes (see


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        In response, the Moving Defendants do not contest that this appearance on the

Ef N’ Sonny Show was “directed at Texas,” but they do note that the episode was

viewed by less than 5,000 people (Dkt. No. 108 at 17–18). Based on the record,

Russell’s podcast appearance does not confer personal jurisdiction. The interview

does not show Russell made continuous efforts to exploit the Texas market—rather,

it was an “isolated” contact that was received by a relatively small audience. See

Keeton, 465 U.S. at 774, 781.

        In sum, Plaintiff has failed to show the Court can exercise personal jurisdiction

over Russell under the “additional conduct” theory. None of the additional contacts

cited show Russell made “substantial and successful efforts” to “continuously and

deliberately exploit[]” the Texas market. TV Azteca, 490 S.W.3d at 49–52 (in part

quoting Keeton, 465 U.S. at 781).

                    b. IPC

        So too with IPC. First, Plaintiff asserts that Russell’s contacts and conduct,

detailed herein, can be “equally and vicariously” attributed to IPC (Dkt. No. 104 at

32). Plaintiff also asserts that IPC’s contractual compensation scheme, which is

substantially similar to Russell’s, shows it benefitted from exploiting the Texas

market (id. at 36–37). For the reasons stated above, these arguments are

unpersuasive, even if Russell’s contacts can be attributed to IPC.




Dkt. No. 104 at 31), Plaintiff did not quote any relevant statements uttered in this interview or supply
timestamps for such relevant statements. The Court declines to scour the video and marshal evidence
on Plaintiff’s behalf. Cf. Garcia v. United States, No. 5:19-cv-16, Dkt. No. 70 at 7 (S.D. Tex. Dec. 10,
2021) (noting judges “are not like pigs, hunting for truffles buried in briefs”) (quoting Malacara v.
Garber, 353 F.3d 393, 405 (5th Cir. 2003)).


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       Second, Plaintiff argues IPC helped market the Show, and Amazon Studios’

promotion efforts were “nationwide, including Texas” (Dkt. No. 104 at 38–40). But

again, as discussed above, “nationwide” marketing is not sufficient to show

purposeful availment of the Texas market. And Plaintiff did not make any other

Texas-specific allegations with respect to IPC, nor did he offer any non-conclusory

allegations that IPC was involved with the Show’s distribution. Accordingly, the

Court cannot exercise personal jurisdiction over IPC under the “additional conduct”

theory.

                 c. Hector Berrellez

       With respect to Hector Berrellez, Plaintiff first argues that, because Berrellez

received payment for his participation in the Show and simultaneously released a

book with similar subject matter, he “financially benefited from the distribution of

the Show throughout the United States, including in Texas” (Dkt. No. 104 at 41). As

discussed above, these allegations—tied to nationwide distribution—fail to show

Berrellez made efforts to deliberately exploit the Texas market.

       As with Russell and IPC, Plaintiff also alleges Berrellez helped promote the

Show (id. at 41–42). But Plaintiff only alleges that one of Berrellez’s media

engagements “related directly to Texas”:

       Specifically, on November 18, 2020 (about three months after the release
       of the Show and his book) he participated in an hour-long on-camera
       interview for a company called Valuetainment, which at the time was
       based in Dallas, for a podcast with an audience of 1.5 million people
       hosted by the company’s CEO, Patrick Bet-David, who interviewed
       Berrellez from Dallas.

(Id. at 42). This allegation fails to confer personal jurisdiction for similar reasons that



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Plaintiff’s Joe Rogan Podcast allegations failed. Although this podcast has a wide

listenership, Plaintiff has not shown the audience is comprised of a disproportionately

large number of Texans. Moreover, Plaintiff does not allege that Berrellez physically

entered Texas for the taping. Nor does Plaintiff allege Berrellez repeated his allegedly

defamatory statements during the interview.10 As with Russell and IPC, Plaintiff has

not sufficiently alleged Berrellez was involved in the Show’s distribution or that he

engaged in additional conduct to “continuously and deliberately” exploit the market

in Texas.

      C.     Traditional Notions of Fair Play and Substantial Justice

           Because Plaintiff has failed to carry his burden to make a prima facie case of

 personal jurisdiction over IPC, Russell, and Berrellez, the Court need not decide

 whether the exercise of such jurisdiction would offend the traditional notions of fair

 play and substantial justice. See Clemens, 615 F.3d at 378. Nevertheless, the Court

 notes that exercising personal jurisdiction over Moving Defendants would violate

 these principles.

           Plaintiff primarily relies on Plaintiff’s injuries in Texas and the Moving

 Defendants’ nationwide promotional activities to establish personal jurisdiction (see

 generally Dkt. Nos. 53, 104). Indeed, he can only point to one or two instances of

 promotional activities focused more heavily on the Texas market (Dkt. No. 104 at

 31, 42). But “[f]orcing Defendants, all non-residents of Texas who have no

 meaningful contacts with Texas, to defend a lawsuit in Texas . . . would impose an


10   See infra Section III.B.2.a, n.9.



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unjustified and unconstitutional burden on each Defendant.” Butowsky, No. 4:19-cv-

180, 2020 WL 5797713, at *13 (E.D. Tex. July 16, 2020), R. & R. adopted sub nom.

Butowsky v. Gottlieb, 2020 WL 5757223 (E.D. Tex. Sept. 28, 2020). Constitutional

due process limits on specific jurisdiction “protect the liberty of the nonresident

defendant—not the convenience of plaintiffs or third parties.” Walden, 571 U.S. at

284. Here, where the Moving Defendants’ contacts with Texas are “attenuated at

best,” the Court concludes the exercise of personal jurisdiction over them would be

“inconsistent with notions of ‘fair play and substantial justice.’” TimeGate Studios,

Inc. v. TimeFly Studios, Inc., No. 4:08-cv-1058, 2008 WL 11407329, at *5 (S.D. Tex.

Oct. 9, 2008).

       Further, as discussed below, the Central District of California, Los Angeles

Division, is the appropriate forum for this action. Because this forum is the proper

location for this lawsuit, federalism concerns weigh against a finding of personal

jurisdiction, as that could “prevent [a] sister State[] from exercising [its] like

authority,” particularly because the sister State has “a greater interest in the

dispute.” Johnson, 21 F.4th at 323 (quoting Ford Motor Co., 141 S. Ct. at 1025). This

federalism interest “carries enormous weight.” Id.

  D.    Transfer

       If a court finds it lacks personal jurisdiction, it may either dismiss the action

pursuant to Rule 12(b)(2) or transfer the action, if the court finds it is within the

interest of justice to do so. 28 U.S.C. §§ 1406(a), 1631; see also Herman, 730 F.3d at

466; Franco, 3 F.4th at 795. The action may be transferred to any court “in which




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the action or appeal could have been brought at the time it was filed or noticed.” 28

U.S.C. § 1631. Because the Court lacks personal jurisdiction over the Moving

Defendants, it may order a transfer pursuant to 28 U.S.C. § 1406(a) and § 1631, even

though the Moving Defendants’ alternative motion requested a transfer pursuant to

§ 1404(a). See Romero v. Cajun Stabilizing Boats, Inc., No. 3:05-cv-483, 2006 WL

367871, at *1, 5 (S.D. Tex. Feb. 14, 2006) (finding no personal jurisdiction and

transferring the case under 28 U.S.C. § 1406(a) and § 1631 where defendant’s

alternative motion requested a § 1404(a) transfer).

         1. Interest of Justice

     The Court finds it is in the interest of justice to transfer the claims against the

Moving Defendants as opposed to dismissing them. A transfer will eliminate the

need for Plaintiff to refile his claims, which would further delay his quest to obtain

redress for his alleged injuries, as well as avoid any potential prejudice caused by

the statute of limitations. See Scoggins v. Dubrow, No. 4:20-cv-3487, 2021 WL

4228609, at *5 (S.D. Tex. May 28, 2021); Romero, 2006 WL 367871, at *5.

Additionally, all the Moving Defendants have consented to a transfer through their

alternative motion.

         2. Court in Which the Action Could Have Been Brought

     The Court finds this action could have been brought in the Central District of

California. First, diversity jurisdiction would exist as it does in this Court. See 28

U.S.C. § 1332(a). Further, venue there is proper under 28 U.S.C. § 1391(b)(2) because

“a substantial part of the events or omissions giving rise to the claim occurred” there.




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As the Moving Defendants state, and Plaintiff does not contest:

     The [Show] was developed, produced, and edited in the Central District
     of California. A majority of participant interviews, including on camera
     interviews with Berrellez and the three cartel informants, took place in
     Los Angeles. In addition, the trial of Cartel members accused of
     Camarena’s murder, at which the Plaintiff testified, took place in Los
     Angeles. Moreover, the [Show] was primarily created, filmed, and
     produced in California, and a majority of interviews with participants in
     the [Show] were conducted there.

(Dkt. No. 38-1 at 24) (internal citations omitted).

     As to personal jurisdiction, Berrellez is a California resident, and IPC’s and

Amazon Studios’ principal places of business are in California (Dkt. No. 1 at 7; Dkt.

No. 38-1 at 10–11). Thus, these defendants are “at home” in California and subject

to its general jurisdiction. See Ford Motor Co., 141 S. Ct. at 1024. Although Russell

is not a California resident, he has consented to the California court’s exercise of

personal jurisdiction over him (Dkt. No. 38-1 at 24). However, Russell’s consent is

not enough to show the action could have been brought in California: The “transfer

[of] an action to another district is made to depend not upon the wish or waiver of the

defendant but, rather, upon whether the transferee district was one in which the

action ‘might have been brought’ by the plaintiff.” Hoffman v. Blaski, 363 U.S. 335,

343–44 (1960) (emphasis added).

     While Russell’s consent is insufficient, the Court finds the California court

would have personal jurisdiction over Russell through his minimum contacts in that

state. Like Texas, “California’s long-arm statute allows the exercise of personal

jurisdiction to the full extent permissible under the U.S. Constitution.” Daimler AG

v. Bauman, 571 U.S. 117, 125 (2014). Russell was the film’s director and co-producer,



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and it is uncontested that the Show was “developed, produced, and edited” in

California, with most of its interviews filmed there. Russell has thus reached into

California and purposefully availed himself of the privilege of conducting activities

there.

     Finally, no party has alleged this suit would not have been timely had it been

initially brought in California. California has a one-year statute of limitations for

defamation claims, see Cal. Civ. Proc. Code § 340(c), which begins to accrue “when

the defendant publishes a defamatory statement by communicating it to a third

person who ‘understands its defamatory meaning as applied to the plaintiff.’”

Penrose Hill, Ltd. v. Mabray, No. 20-cv-1169, 2020 WL 4804965, at *6 (N.D. Cal.

Aug. 18, 2020) (quoting Shively v. Bozanich, 80 P.3d 676, 683 (Cal. 2003)). Here, the

Show premiered on July 31, 2020, and the lawsuit was filed on December 21, 2020,

well within the one-year limitations period (see Dkt. No. 1 at 1–2).

                                IV. CONCLUSION

         For the foregoing reasons, the Moving Defendants’ motion to dismiss for lack

of personal jurisdiction or, in the alternative, to transfer venue is GRANTED IN

PART and DENIED IN PART. While the Court lacks personal jurisdiction over the

Moving Defendants, it declines to dismiss Plaintiff’s claims against the Moving

Defendants. Instead, the Court will transfer Plaintiff’s claims against them to the

Central District of California, Los Angeles Division pursuant to 28 U.S.C. § 1406(a)

and § 1631. Finally, the Court recognizes that this Order draws from evidence and

arguments submitted under seal (see Dkt. Nos. 103–104; 107–108). Therefore, the




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Court has chosen to docket this Order under seal for the time being. However, the

public has a presumptive right to access court records. See United States v. Holy

Land    Found.,   624    F.3d   685,   690     (5th   Cir.   2010). Thus,   the   parties

are NOTICED that after thirty (30) days, this Order will be unsealed in its

entirety for the public’s access. If the parties oppose this course of action, they must

file an advisory no later than April 13, 2022, at 12:00 p.m. The advisory

must identify specific excerpts of the Order that require the seal to be maintained, in

whole or in part. The parties must cite specific legal reasons to support their

requests—conclusory statements will not be accepted.

       It is so ORDERED.

       SIGNED March 18, 2022.


                                             ___________________________________
                                             Marina Garcia Marmolejo
                                             United States District Judge




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